         Case 1:14-cv-05683-KBF-DCF Document 20 Filed 09/19/14 Page 1 of 2
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                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                    DOC#:~~~~~~
SOUTHERN DISTRICT OF NEW YORK                                   DATE FILED: SEP 1 9 2014
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SAGI GENGER,

                                        Plaintiff,                        14-cv-5683 (KBF)
                              -v-
                                                                              ORDER
ORLY GENGER,

                                        Defendant.

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KATHERINE B. FORREST, District Judge:

          ORDERED:

          Defendant's motion to dismiss (ECF No. 10) is DENIED.

          1. The evidence sufficiently supports subject matter jurisdiction as of July

               24, 2014, the date of filing of the complaint. (ECF No. 1.)

          2. The "motion to dismiss" for lack of consider~1tion and other reasons is also

               DENIED. Plaintiff has sufficiently alleged the elements of the causes of

               action to survive the pleading stage. The parties' briefing reveals a host of

               factual issues outside the four corners of the complaint. The parties ma:y

               be able to recast these papers as summar:y judgment })ricfs at the

               appropriate time.
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     The Clerk of Court is directed to close the motion at ECF No. 10.

         SO ORDERED.

Dated:       New York, New York
             September 15_, 2014



                                                 KATHERINE B. FORREST
                                                 United States District Judge




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